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Exhibit 72
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IN RE: CATHODE RAY TUBE
ANTITRUST LITIGATION

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
(SAN FRANCISCO DIVISION)

(CRT)
Case No.
07-5944 SC

THIS DOCUMENT RELATES TO:

INDIRECT PURCHASER ACTIONS

MDL No. 1917

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SUPERIOR COURT OF

THE STATE OF CALIFORNIA

CITY AND COUNTY OF SAN FRANCISCO

DEPOSITION OF:
TAKEN ON BEHALF OF:
DATE TAKEN:

TIME:

PLACE:

TAKEN BEFORE:

)
STATE OF CALIFORNIA, et al., )
)
Plaintiffs, )
) Case No.
Vs. ) CGC-11-51584
)
SAMSUNG SDI, INC., CO., LTD., )
et al., )
)
Defendants. )
)
-VIDEOTAPED

DAVID RANDALL ROOKS
TOSHIBA DEFENDANTS

FRIDAY, NOVEMBER 30, 2012

9:10 A.M. - 2:57 P.M.
20 NORTH ORANGE AVENUE
SUITE 1600
ORLANDO, FLORIDA 32801
NINETTE LONG, RPR, FPR, CLR
AND NOTARY PUBLIC

DAVID RANDALL ROOKS

BARKLEY

a
Court Reporters

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Q. You don't know.

A. Yeah. I don't know.

Q. Okay. Can you identify the model number of
the television you purchased?

A. If it's on the invoice. That's the only way
I'd be able to identify it, the model number.

Q. Okay. So is that the only document you have

that would refresh your recollection?

A. Yes.
Q. Do you still have the Panasonic television?
A. No.
Q. Mr. Rooks, I'm going to hand you a document

that has been already marked as Exhibit 373. So if you
could turn to the second page of this document where it
says Samsung Exhibit B34 at the top.

A. Uh-huh.

Q. Does this document look familiar to you?
A. Yes.
QO. Under No. 1, where it says CRT Product,

Panasonic Television Model CT36HX41, is that the model
number of your Panasonic television?
A. If that's what it says on the invoice.
Q. Okay. Let's take a look at the invoice.
MS. NAIFEH: So we don't have the copies yet,

do we, from --

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Q. Okay. Were you concerned about -- what would
happen after the extended warranty expired?

A. No.

Q. Okay. Why not?

A. At that point in time, if we're talking about
four years, you're talking about an average of $500 a
year for a television set. I was comfortable at that
point in time with that. And then if after four or five
years I needed to get a new television set, then that

was fine.

Q. Was the size of the television important?

A. Yes.

Q. Why?

A. Bigger picture.

Q. Were there other larger TVs you could have
bought?

A. Yes.

Q. And why didn't you buy those?

A. Price.

Q. Was the manufacturer of the cathode ray tube
important?

A. No.

Q. Do you know who manufactured the cathode ray

tube inside your television?

A. No.

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